












Petition for Writ of Mandamus
Denied and Memorandum Opinion filed May 5, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00388-CV

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&nbsp;

IN RE JAMES BAXTER, D.C., Relator

&nbsp;

&nbsp;

&nbsp;



ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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&nbsp;



M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 4, 2010, relator, James Baxter, D.C., pro se, filed a
petition for writ of mandamus in this court.&nbsp; See Tex. Gov’t Code Ann. §
22.221 (Vernon 2004); see also Tex. R. App. P. 52.[1]&nbsp;
In the petition, relator asks this court to compel the Honorable Alexandra
Smoots-Hogan, presiding judge of the 164th District Court of Harris County, to grant
a mistrial and set aside the directed verdict on the plaintiffs’ claims.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator has not established his entitlement to the
extraordinary relief of a writ of mandamus.&nbsp; Accordingly, we deny relator’s
petition for writ of mandamus. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

&nbsp;

Panel
consists of Chief Justice Hedges and Justices Yates and Boyce.









[1]
In the petition, relator states he is filing
this petition on behalf of Protech Evaluation Services, Inc., Baxter Injury
Centers, Sterling Imaging, and other plaintiff chiropractic offices.&nbsp; 







